,,        Case 3:18-cv-02763-WQH-KSC Document 39 Filed 05/22/19 PageID.1932 Page 1 of 3
                                               United States District Court
                                                SOUTHERN DISTRICT OF CALIFORNIA


     Evans Hotels, LLC, et al.                                                      Case No.         .            ilJfiH . .
                                                                                                   3 . 18 -cv-02763-~KSC
                                                                                                                                    ~
                                                              Plaintiff,
                                                       v.                     PRO HAC VICE APPLICATION
     Unite Here! Local 30, et al.                                                  Plaintiffs Evans Hotels, LLC, et al.
                                                            Defendant.
                                                                                   Party Represented

     I,                    Lawrence D. Levien                       hereby petition the above        eQ!i!!~A.£..QlU:t..to...permitme

                                 (Applicant)                                           r . Fl LED                                       \
     to appear and participate in this case and in support of petition state                                                            \
            My firm name: Akin Gump Strauss Hauer & Feld LLP                                                              g             I
                Street address: Robert S. Strauss Twr, 2001 K Street N.W.
                City, State, ZIP: Washington D.C., 20006
                Phone number: 202-887-4000
                                  ------------------~~'--~___,~----
                Email:            llevien@akingump.com
                That on                            I was admitted to practice before                      (see attached)
                                  (Date)                                                                      (Name of Court)

                and am currently in good standing and eligible to practice in said court,
                that I am not currently suspended or disbarred in any other court, and
                that I    D have) IZ! have not) concurrently or within the year preceding this application made
                any pro hac vice application to this court.
                                           (If previous application made, complete the following)

     Title of case
                         ~~~-~~---~-------------~---~-----

     Case Number                                                                   Date of Application - - - - - - -
     Application:         D Granted          D Denied
                I declare under penalty of perjury that the foregoing is true and correct.

                                                                                                 i l>L
                                                                                                    (Signature of Applicant)

                                             DESIGNATION OF LOCAL COUNSEL
     I hereby designate the below named as associate local counsel.
     Susan K. Leader                                                               310-229-1000
     (Name)                                                                        (Telephone)

     Akin Gump Strauss Hauer & Feld LLP
     (Firm)

     1999 Avenue of the Stars, Suite 600, Los Angeles, CA 90067
     (Street)
                                                                                  (C;fy)     1 l>t                              (Zip code)



                                                                                   (Signature of Applicant)

     I hereby consent to the above designation.
                                                                                   (Signature ofDesignee Attorney)
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"
    Pro Hae Vice (For this one particular occasion)

    An attorney who is not a member of the California State Bar, but who is a member in good standing of,
    and eligible to practice before, the bar of any United States court or of the highest court of any State or
    of any Territory or Insular possession of the United States, who is of good moral character, and who has
    been retained to appear in this Court, be permitted to appear and participate in a particular case. An
    attorney is not eligible to practice pursuant to this paragraph if any one or more of the following apply
    to him/her: (1) he/she resides in California, (2) he/she is regularly employed in California, or (3) he/she
    is regularly engaged in business, professional, or other activities in California.

    The pro hac vice application shall be presented to the Clerk and shall state under penalty of perjury
    (1) the attorney's residence and office address, (2) by what court he/she has been admitted to practice
    and the date of admission, he/she is in good standing and eligible to practice in said court,
    (4) that he/she is not currently suspended or disbarred in any other court, and (5) if he/she has
    concurrently or within the year preceding his/her current application made any pro hac vice application
    to this court, the title and the case number of each matter wherein he made application, the date of
    application, and whether or not his/her application was granted. He/She shall also designate in his
    application a member of the bar of this Court with whom the Court and opposing counsel may readily
    communicate regarding the conduct of the case and upon whom papers shall be served. He/She shall
    file with such application the address, telephone number and written consent of such designee.

    Fee:    $206.00

    If application and fee require submission via U.S. Mail, please contact:

                                                          CASD Attorney Admissions Clerk
                                                          (619) 557-5329


    The pro hac vice application for Lawrence D. Levien representing plaintiffs is hereby:

    ~PPROVED for filing                             D   DENIED

    Date.      c/U-Lf"7                            It is so ordered1,v4£'v"?',,            ',/, .c:=
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                         ATTACHMENT TO PRO HAC VICE APPLICATION
                                OF LAWRENCE D. LEVIEN



      BAR ADMISSION:

      District of Columbia          Admitted: 05/28/1974



      COURT ADMISSIONS:

      U.S. Court of Appeals for the Third Circuit- 12/20/2018

      U.S. Court of Appeals for the Fourth Circuit- 01/15/1982

      U.S. Court of Appeals for the Fifth Circuit- 04/17/1984

      U.S. Court of Appeals for the Seventh Circuit - 06/24/1999

      U.S. Court of Appeals for the Eleventh Circuit- 10/24/2016

      U.S. District Court for the Central District of Illinois- 09/12/1994
